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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             CHARLESTON DIVISION

IN RE: ETHICON, INC
PELVIC REPAIR SYSTEM,
PRODUCTS LIABILITY LITIGATION                                       MDL NO. 2327
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THIS DOCUMENT RELATES TO ALL CASES

            FIRST AMENDED NOTICE TO TAKE ORAL DEPOSITION
      OF DEFENDANT ETHICON LLC THROUGH DESIGNATED WITNESS(ES)

TO:    Defendant ETHICON, LLC and its Attorneys of Record.

       Please take notice that pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure,

Plaintiffs, by and through their counsel, will take the videotaped deposition of a designated

witness or witnesses of Defendant Ethicon, LLC to begin on May 28, 2013, at 9:00 a.m., at the

offices of Riker Danzig at One Speedwell Avenue in Morristown, New Jersey. The witness(es)

shall be prepared to testify concerning the subject matters identified in Exhibit “A”, attached

hereto. The witness(es) shall produce documents identified in Exhibit “B”, attached hereto, prior

to the deposition. The deposition will be taken before a person authorized by law to administer

oaths, pursuant to Rule 28 of the Federal Rules of Civil Procedure, and will continue day-to-day

until the examination is completed.

                                         DEFINITIONS

       All definitions and rules or instructions set forth in Fed. Rule Civ. P. 30(b)(6) shall apply

to all requests for information herein. To the extent a term commonly in use in the medical

device industry is not defined herein, it shall be understood to be consistent with the meaning

commonly ascribed to that term in the medical device industry.

       1.      “Concerning” means referring to, describing, evidencing, or constituting. See LR

Civ. P 26.2(c)(7).
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       2.      “Defendant”, “Ethicon, LLC”, “you” or “your” refers to, without limitation,

Ethicon, LLC and all business entities with which it is or has been affiliated, together with any

predecessor, successor, parent, or subsidiary entity as well as any officer, director, employee,

attorney, agent, or representative of any such other business entity previously described herein.

       3.      “Document” is synonymous in meaning and equal in scope to the usage of this

term in Rule 34(a) of the Federal Rules of Civil Procedure and expressly includes writings,

drawings, graphs, charts, photographs, sound recordings, images, and other data or data

compilations stored in any medium from which information can be obtained either directly or, if

necessary, after translation by you into a reasonably usable form. A draft or non-identical copy

is a separate document. See LR Civ. P. 26.2(c)(2); see also FR Civ. P 34(a).

       4.      “Mesh Product” means any product that you developed, designed, distributed,

licensed, manufactured, marketed or sold for the treatment of Pelvic Organ Prolapse (POP) or

Stress Urinary Incontinence (SUI).

       5.      “Relevant Time Period” means the time period from when you first developed,

designed, distributed, licensed, manufactured, marketed or sold pelvic mesh products to the

present.

                                      PLAINTIFFS’ CO-LEAD COUNSEL


                                      By: ____/s/Thomas P. Cartmell_______________
                                      THOMAS P. CARTMELL
                                      Wagstaff & Cartmell LLP
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                               Plaintiffs’ Co-Lead Counsel




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                                         EXHIBIT “A”

                              DEPOSITION SUBJECT MATTER

       Pursuant to Rule 30(b)(6), the deponent(s) must have knowledge and shall be able to

testify concerning the following subject matters:

I.     ETHICON LLC COMPANY STRUCTURE AND ORGANIZATION

       1.       Ethicon, LLC’s internal company structure and organization, and more

specifically:

                a.     The internal organizational structure of Ethicon, LLC’s individual
                       departments, groups, divisions, committees and/or task forces;

                b.     The organizational structure within each of Ethicon LLC’s departments,
                       groups, divisions, and/or committees, including the identity of the
                       individuals who performed work related to your pelvic mesh products;

                c.     All persons, departments, and/or committees involved in the research,
                       development, production, regulatory compliance, testing, packaging,
                       distribution, sanitization, manufacturing and quality control of Ethicon
                       LLC’s pelvic mesh products;

                d.     The functions, duties and responsibilities of each department, group,
                       division, and/or committee related to the manufacturing of your pelvic
                       mesh products; and

                e.     The members of Ethicon, LLC.

       2.       The nature, location, storage and organization of all documents and electronically

stored information related to any activities of Ethicon LLC, including any activities of its boards

of directors and/or board of director committees and subcommittees, meeting minutes, reports,

handouts and investigational documents from the date Ethicon, LLC first started manufacturing

its pelvic mesh products (including but not limited to any of their component parts or materials

used in the manufacturing process) until the present.




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       3.      The contractual relationship and the contracts with any and all vendors, suppliers

or other third parties related to the supply of materials or component parts for the manufacture of

the pelvic mesh products or in any way related to the manufacture of the pelvic mesh products.

       4.      The structure of any working or functional department or group, committee,

and/or task force including the identity of those individuals responsible for tracking, recording,

reporting, handling, or following up on complaints, adverse events or other non-conformance

issues or problems related to the manufacture of the pelvic mesh products.

       5.      Ethicon LLC’s contract(s) and relationships with Medical Device and Diagnostics

Global Services, LLC, including all aspects of the agreement and each parties’ duties and

responsibilities pursuant to the agreement.

       6.      The company organization and structure of Ethicon LLC relating to the approval,

management, administration, operation and compliance with any and all U.S. medical device

regulations or standards applicable to your pelvic mesh products from the date Ethicon LLC first

started developing pelvic mesh products until the present.

       7.      The company organization and structure of Ethicon LLC relating to the approval,

management, administration, operation and compliance with any and all foreign medical device

regulations or standards applicable to your pelvic mesh products from the date Ethicon LLC first

started developing pelvic mesh products until the present.



II.    MANUFACTURING AND DISTRIBUTION PRACTICES

       1.      The following manufacturing topics and the identity of all persons within Ethicon,

LLC and all committees, groups, departments, and/or boards and the like (including their names,

responsibilities, dates of operation and the identity of their members), who/which were



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responsible at any and all time periods for the following from the date Ethicon, LLC first started

manufacturing and distributing its pelvic mesh products until the present:


               a.     All raw materials, including additives, that are contained in the
                      polypropylene mesh used in your pelvic mesh products, including the
                      suppliers of all such products;

               b.     The existence and handling of manufacturing related complaints and non-
                      conformance reports;

               c.     The method of supply and the identity of the suppliers of any and all
                      materials or component parts of your pelvic mesh products;

               d.     Sterilization and sanitization of the product, plant and equipment used in
                      the manufacture of the pelvic mesh products, including those responsible
                      for developing policies and procedures regarding sterilization and
                      sanitization and those responsible for ensuring compliance with those
                      policies and procedures;

               e.     The maintenance of records regarding the sterilization and sanitization of
                      the product, plant and equipment used in the manufacture of the pelvic
                      mesh products, including maintaining and updating policies and
                      procedures regarding sterilization and sanitization;

               f.     The specifications for all materials and/or component parts that make up
                      you pelvic mesh products;

               g.     Inspecting, measuring, testing, and otherwise ensuring compliance with
                      specifications for finished products;

               h.     Inspecting, measuring, testing, and otherwise ensuring compliance with
                      specifications for product components;

               i.     Inspecting, measuring, testing, and otherwise ensuring compliance with
                      specifications for product raw materials;

               j.     End-to-end production process for pelvic mesh products, including the
                      purchasing, testing and chemical composition of raw material, the
                      extrusion of continuous filament, winding, weaving, knitting, scouring,
                      and/or annealing;

               k.     Inspecting finished mesh products for surface effects and/or variations in
                      the finished products;



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           l.     Measuring process variables, including temperature effects at the
                  extrusion die, water content of the polymer, the finish of the tool and/or
                  residual process materials that have not been completely removed through
                  scouring;

           m.     Measuring polypropylene variables, including tacticity, presence of
                  extrusion processing aids, monomers, dimers and/or residual catalyst;

           n.     Implementing and maintaining any manufacturing and distribution process
                  tracking technologies employed by Ethicon LLC, including but not limited
                  to technologies such as RFID and barcodes and the means of collection,
                  retention and integration of these data through the product lifecycle;

           o.     Installing, inspecting, maintaining, and operating equipment used to
                  produce pelvic mesh products, including, but not limited to laser cutting
                  equipment and mechanical cutting equipment used in the production of
                  pelvic mesh;

           p.     The substantive preparation, printing, and placement of package inserts,
                  product packaging, IFUs and other labeling for your pelvic mesh products
                  (both U.S. and foreign), including the specific dates of use for each such
                  items and any changes thereto;

           q.     The substantive preparation and approval of any manufacturing process
                  changes regarding your pelvic mesh products, including the specific dates
                  and reasons for each change;

           r.     Any investigation, evaluation and determination as to whether there is an
                  association between manufacturing defects/problems/errors related to your
                  pelvic mesh products and any adverse event experienced by a patient who
                  was provided your pelvic mesh products;

           s.     Any investigation, evaluation and determination as to whether there is an
                  association or causal connection between your pelvic mesh materials,
                  component parts or products and any adverse event or injuries;

           t.     Any documents which pertain to or discuss personal injury litigation
                  concerning your pelvic mesh product, including but not limited to
                  documentation of litigation holds;

           u.     The maintenance of Ethicon LLC’s finances, budgets and expenditures
                  related to its pelvic mesh products from the date first started developing
                  and manufacturing its pelvic mesh products until the present;

           v.     The interaction and communication internally or with any outside
                  contractors, vendors or consultants regarding the manufacturing,

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                  engineering, distribution, regulatory compliance, or the safety of your
                  pelvic mesh products for use by humans, from the date Ethicon, LLC first
                  started developing and manufacturing pelvic mesh products until the
                  present;

           w.     The interaction and communication internally or with any outside vendors
                  regarding the safety of the use of the raw materials used in the
                  manufacturing of your pelvic mesh products, from the date Ethicon, LLC
                  first started developing, packaging and/or manufacturing pelvic mesh
                  products until the present;

           x.     Any internal communications or external communication with vendors,
                  suppliers, contractors or consultants related to whether polypropylene is
                  safe for use in your pelvic mesh products;

           y.     The Corrective and Preventative Action Plan (“CAPA”) relating to failure
                  to properly maintain documents necessary for regulatory or litigation
                  purposes;

           z.     Any material safety data sheets for polypropylene or product safety data
                  sheets for polypropylene in your possession from the date you first started
                  manufacturing your pelvic mesh products;

           aa.    Any material safety data sheets or product safety sheets for the raw
                  materials or component parts of your pelvic mesh products from the date
                  you first started manufacturing your pelvic mesh products;

           bb.    The Corrective and Preventative Action Plan (“CAPA”) relating to failure
                  of Prolene Mesh not being packaged (folded) as specified in the Process
                  Specification for Packaging of Mesh Product;

           cc.    The Corrective and Preventative Action Plan (“CAPA”) relating to
                  Gynemesh non-absorbable Prolene Soft mesh not being properly sealed as
                  well as evaluating units for packaging integrity;

           dd.    The Corrective and Preventative Action Plan (“CAPA”) related to the
                  increase in complaints with the TVT-Secur in Australia reported by Dr.
                  Aran Maree.

           ee.    The Corrective and Preventative Action Plan (“CAPA”) related to
                  defective inserter springs in the TVT-Secur.

           ff.    Documentation of Investigations of causes of manufacturing
                  nonconformities and corrective and preventative actions (“CAPA”);




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               gg.     The auditing of the conduct of the company and its officers and employees
                       in connection with the manufacture, distribution, testing and quality of
                       pelvic mesh products from the date Ethicon, LLC first started developing
                       pelvic mesh products until the present;

               hh.     Ethicon LLC’s quality manual, quality policy, written procedures for
                       management review, quality audits and quality plan and management
                       review of the same;

               ii.     Manufacturing standards for measuring space between pores of pelvic
                       mesh products as well as evaluation and testing of the space between the
                       pores;

               jj.     Rejected Product that did not meet product specifications as well as the
                       destruction or disposal of such product including records of the product;

               kk.     The suppliers of the polypropylene mesh, including any contracts with any
                       third parties about or relating to the supply of polypropylene mesh; and

               ll.     The existence of and terms of all hold harmless agreements or
                       indemnification agreements between Ethicon LLC and its vendors,
                       suppliers, consultants, distributors or other manufacturers of pelvic mesh
                       products.

       2.      The processes and procedures used by Ethicon, LLC in connection with

processing of non-conformance reports, including the identification of policy manuals, SOPs,

and safety manuals.

       3.      The process and procedures for storing, testing and/or analyzing pelvic mesh

products that have been returned to Ethicon, LLC due to complaints of malfunction or

complications and the location of any and all such storage facilities.

III.   OUTSIDE CONTRACTORS/CONSULTANTS


       1.       All persons or entities that Ethicon, LLC (including the name, employer or the

corporate entity the person is associated with, the time period in which the relationship existed,

the title, role, function of the individual or entity, and a general description of the nature of the

consultation or discussion) consulted with, paid or retained concerning your pelvic mesh

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products from the date Ethicon, LLC first started developing pelvic mesh products until the

present. Areas of inquiry related to the identity of these consultants will include but will not be

limited to the following:

               a.      Ensuring and/or evaluating compliance with laws and regulations
                       regarding product manufacturing;

               b.      Ensuring and or evaluating compliance with quality manufacturing
                       procedures and policies, included but not limited to auditing of procedures
                       such as ISO 9000 and any similar procedures;

               c.      Any consultants involved in responding to any perceived deficiencies to
                       Ethicon LLC’s processes or manufacturing, including Corrective and
                       Preventative Actions, (CAPA’s) Product Quality Issues (PQI’s), or non-
                       conformance issues or problems;

               d.      Any consultants involved with testing, maintenance, repair, setup and
                       operation of plant equipment;

               e.      Any scientific, manufacturing, and engineering consultants;

               f.      Any product testing consultants;

               g.      Any machine testing consultants;

               h.       Any consultants or contractors involved with the supply of mesh, the type
                        of mesh to be used in the pelvic floor mesh products, or the safety of the
                        mesh to be used in the pelvic floor mesh products.


       2.      Ethicon LLC’s third party consultants or entities retained for Manufacturing,

Engineering, Product Testing, Auditing, and the nature of the work done by those consultants

and the time periods during which they were retained from the date Ethicon LLC first started

developing pelvic mesh products until the present.



VI.    REGULATORY COMMUNICATIONS




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       1.      All interactions between Ethicon LLC and the FDA or other regulatory bodies in

the United States concerning Ethicon LLC’s manufacturing or distribution of pelvic mesh

products or component parts making up such pelvic mesh products, including the location,

storage and organization of any and all documents that relate to or reflect the same.

       2.      Communications between Ethicon LLC and the FDA or other federal government

entity or agency regarding the manufacturing of pelvic mesh products.




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                                       EXHIBIT “B”

                                DOCUMENT REQUESTS

      Please produce:

      1.     All documents relied upon by the deponent in preparing for this deposition.

      2.     All documents reflecting correspondence between the FDA and Ethicon LLC
             regarding pelvic mesh products or facilities and procedures involved in the
             manufacture of pelvic mesh products.

      3.     All current and former product specifications for pelvic mesh products including
             draft copies.

      4.     Ethicon LLC’s quality manual, quality policy, written procedures for management
             review, quality audits and quality plan as well as minutes and notes management
             review meetings regarding these documents.

      5.     Any documents indicating or discussing deviation from product specifications,
             including but not limited to, fraying, bunching, curling, degradation, fading,
             crumbling, folding, toxicity or sizing of mesh.

      6.     Records of product that was rejected and destroyed or otherwise disposed for not
             meeting product specifications.

      7.     All agreements between Ethicon LLC and third parties or consultants related to
             the supply of mesh for use in pelvic floor products.

      8.     All documents related to whether the use of polypropylene mesh is safe for use in
             humans.

      9.     Any material safety data sheets for polypropylene or product safety data sheets for
             polypropylene in your possession from the date you first started manufacturing
             your pelvic mesh products.

      10.    Any material safety data sheets or product safety sheets for the raw materials or
             component parts of your pelvic mesh products from the date you first started
             manufacturing your pelvic mesh products




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